The Board of Education of Wilkes County acted within the powers conferred upon it by the Code, § 32-915, in consolidating Ficklen and Big Cedar schools with Lundberg school, and the judgment denying mandamus absolute to compel the board to operate Ficklen and Big Cedar schools, upon the petition therefor by the trustees of said schools, was not erroneous.
                       No. 13620. APRIL 15, 1941.
A. F. Bramlett, J. M. Godwin, and L. S. Howard, as trustees of Ficklen School, and J. A. Turpin, B. R. Turpin, and J. C. Williamson, as trustees of Big Cedar School, brought this action seeking *Page 9 
a writ of mandamus to compel the Board of Education of Wilkes County to open, maintain, operate, and furnish teachers for said schools. The petition alleges, that Ficklen school and Lundberg school are located in Lundberg school district, and Big Cedar school is located in the adjoining school district of Mount Zion; that schools were maintained in these schools during the school year of 1939-1940; that during 1940 the county board of education by resolution consolidated Lundberg and Mount Zion school districts, but upon the protest of the number of patrons required by law an election was called, in which less than a majority of the qualified voters voted, and the county board of education ruled that the consolidation was defeated by the election; that the school term of 1940-1941 began in the autumn of 1940, but the county board of education failed to furnish teachers for Ficklen and Big Cedar schools, and have failed and refused to operate either of these schools, although there are white pupils ready and willing to attend both schools; that it is the duty of the board to operate these schools; and that if they are given discretionary powers under the law, they have abused this discretion by failing to furnish teachers and operate these schools. The board of education filed answers admitting defeat of consolidation of the school districts at the election because of failure of the required number of registered voters to participate therein. It admits that Ficklen and Big Cedar schools have been discontinued, and asserts that this was done that the schools of the county might be operated more efficiently and to afford better educational opportunity to the pupils of said schools; that safe and convenient transportation has been furnished to the pupils of these schools, and that the annual enrollment and average daily attendance of these schools for the past two years was as follows: 1938-1939. Ficklen — enrollment, 15; average daily attendance, 12.78; Big Cedar — enrollment, 21; average daily attendance, 16.74. 1939-1940. Ficklen — enrollment, 14; average daily attendance, 8.58; Big Cedar — enrollment, 16; average daily attendance, 13.91. It is further alleged in the answer, that in Ficklen School last year there were five transient pupils who are included in the above enrollment and average attendance; that the school buildings at both schools are one-room, are of poor construction and in a bad state of repair, with no adequate facilities, the buildings being more than fifteen years old; that the school building at *Page 10 
Lundberg is centrally located between Ficklen and Big Cedar schools, is a modern building in good repair, and affords adequate school facilities; that because of the repeated recommendations of the State Department, and in order to provide better facilities for its pupils, increase its teacher allotment, and more efficiently operate its schools, the county board of education, in the exercise of a sound discretion, undertook to consolidate school districts as alleged in the petition, but when this undertaking was defeated in the election, prompted by the same considerations, the board united Ficklen and Big Cedar schools with Lundberg School.
Upon the trial it was agreed that neither school district levied a district-school tax, and that the allegations of fact made in the pleadings are true. Judgment refusing mandamus absolute was rendered, and the plaintiffs excepted.
All references to the consolidation of school districts pursuant to the Code, § 32-917, are at the outset put aside as having no relevancy whatever to the issues in the present case. The word "schools" as used in that section must be construed to mean "school districts," since it provides for consolidation of districts, and not of schools. The present case involves the right of the county board of education to unite two or more schools in the same or different districts. This authority is conferred upon the board by the Code, § 32-915, which in part declares: "The board of education of any county shall have the right if, in their opinion, the welfare of the schools of the county and the best interests of the pupils require, to consolidate two or more schools located in the same or different districts into one school, to be located by said board at a place convenient to the pupils attending the same, the schoolhouse to be located as near the center of the district or districts as practicable." The remainder of the section provides that when such consolidation has been made, an election of trustees for the consolidated school from the district or districts concerned shall be called by the superintendent of schools. If the language of the statute conferring the power to consolidate was ambiguous as to whether it related to schools or school districts, this latter provision for election of trustees would require a construction that it referred to schools, and not to school districts. Obviously if the districts are consolidated *Page 11 
they become one, and the election of trustees therein would be from the district. Hence the provision that such trustees shall be elected from the "district or districts" shows that such consolidated school might embrace more than one district. The only limitation placed upon the authority of the board to consolidate schools is that the board must be of the opinion that such consolidation will promote the welfare of the schools of the county and the best interests of the pupils, and that the school be located convenient to the pupils and as near to the center of the district or districts as practicable. There is abundant evidence in the present case to authorize the county board to entertain such opinion, and that the school is convenient to the pupils and centrally located.
This case demonstrates the legislative wisdom in conferring discretionary power upon the county board of education to consolidate schools. The record of the complaining schools shows that to continue their operation, requiring the services of one teacher each for an average attendance of 8.58 and 13.91, would constitute a waste of school funds available for the operation of the schools of Wilkes County; and not only would the pupils of these schools suffer because of lack of adequate facilities and poor housing, but to the extent that other schools of the county are deprived of funds wasted in the operation of these schools the pupils in those schools would likewise suffer injury. As pointed out in Keever v. Board of Education of GwinnettCounty, 188 Ga. 299 (3 S.E.2d 886), the management of county schools is largely intrusted to the county board of education, and the legislature has wisely invested them with wide discretion. Under the circumstances in the present case the county board acted within its powers in making the consolidation complained of, and it was not error to deny the prayer for mandamus absolute.
Judgment affirmed. All the Justices concur.